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VERSUS
NO. 06-690-C
R|CHARD STALDER, ET AL
RUL|NG

The court, after carefully considering the petition, the record, the law applicable
to this action, and the Report and Recommendation of United States l\/lagistrate Judge
Christine No|and dated September 27, 2007, to which no objection has been filed,
hereby approves the report and recommendation of the magistrate judge and adopts it
as the court’s opinion herein.

Accordingly, the plaintitf’s motion for summary judgment (rec.doc.18) will be
denied Further, defendant’s motion for summaryjudgment (rec. doc. 14) will be
granted, dismissing the p|aintiff’s claims, without prejudice, for failure to exhaust
administrative remedies pursuant to 42 U.S.C. § 1997e, and that this action will be

dismissedl

Baton Rouge, Louisiana, October .{_'_? , 2007.

 

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